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                                                                                      2019 Jun-26 PM 03:47
                                                                                      U.S. DISTRICT COURT
                                                                                          N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                        NORTHEASTERN DIVISION

CRP III PROPERTY OWNER,                    )
LLC,                                       )
                                           )
       Plaintiff,                          )
                                           )
v.                                         ) CASE NO.: 5:19-cv-00995-CLS
                                           )
BLACK HALL AEROSPACE,                      )
INC.                                       )
                                           )
       Defendant.                          )

                        FIRST AMENDED COMPLAINT

      COMES NOW, Plaintiff CRP III Property Owner, LLC and files this

Complaint against Defendant, Black Hall Aerospace, Inc. and, in support thereof,

shows as follows:

                                       PARTIES

      1.      Plaintiff, CRP III Property Owner, LLC, is a Delaware Limited

Liability Company with its principal place of business in the state of New York and

conducting business in the state of Alabama.

      2.      Defendant, Black Hall Aerospace, Inc. is a domestic corporation that

conducts business in Madison County, Alabama.

                             JURISDICTION AND VENUE

      3.      Paragraphs 1 through 2 are incorporated herein as if set out in full.
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      4.      Given the amount in controversy and the nature of claims plead infra,

this Court has subject matter jurisdiction over this matter.

      5.      Plaintiff brings its complaint under federal diversity jurisdiction, 28

U.S.C. § 1332, as the parties are completely diverse in citizenship and the amount in

controversy exceeds $75,000.

                                        FACTS

      6.      Paragraphs 1 through 5 are incorporated herein as if set out in full.

      7.      Plaintiff is the owner and landlord of a piece of commercial real estate

located at 620 Discovery Drive Huntsville, Alabama (“Property Location”). This

commercial real estate building consists of office space. The Property Location is

managed by Colliers/International on behalf of the owner.

      8.      On or about November 23, 2011 a lease agreement was entered into by

BR Cummings Research Park Portfolio III, TIC-1, LLC as (“the Landlord”) and MI-

Helicopter Solutions, Inc. as the tenant to rent office space located at Suite 140 of

the Property Location.

      9.      On or about September 26, 2013, the lease was amended (First

Amendment) to change the office space from Suite 140 to Suite 110 and MI-

Helicopter Solutions, Inc. was now known as AAL USA, Inc.

      10.     On or about December 20, 2013, the lease was amended (Second

Amendment) to expand the office space to include additional space located adjacent
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to Suite 110.

      11.       On or about July 21, 2015, the lease was amended (Third Amendment)

to change the office space from its current location of Suite 110 to Suite 200.

      12.       On or about April 5, 2016, the lease was amended (Fourth Amendment)

and included the following:

            • The Term which was scheduled to expire on November 30, 2021 was
              to remain unaltered
            • Expanded leased area to include an additional 3,286 square feet located
              on the first (1st) floor of the Building at Suite 140
            • Effective July 1, 2016, or upon completion of improvements to include
              an additional 20,553 square feet located on the third (3rd) floor of the
              Building at Suite 300 for a total space of approximately 40,017 square
              feet of space.
            • The monthly rent to was increase from Twenty-Three Thousand Nine
              Hundred Twenty-Nine and 96/100 Dollars ($23,929.96) to Forty Three
              Thousand Nine Hundred Ninety One and 15/100 Dollars ($43,991.15)
              once all the expansions were complete around August 1, 2016
            • The monthly rent was then set to increase, incrementally, as follows:

                   o   October 1, 2016    $59,191.81
                   o   December 1, 2016   $60,894.96
                   o   December 1, 2017   $61,648.46
                   o   December 1, 2018   $62,917.03
                   o   December 1, 2019   $64,212.69
                   o   December 1, 2020   $65,518.58

      13.       On or about September 29, 2016, Defendant Black Hall Aerospace, Inc.

entered into an Asset Purchase Agreement with AAL USA, Inc. which included an

Assumption of the Lease agreement between AAL USA, Inc. and the Landlord.

      14.       On or about December 22, 2017 BR Cummings Research Park
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Portfolio III, TIC-1, LLC sold the Property Location to CRP III Property Owner,

LLC. CRP III Property Owner, LLC is the Plaintiff and current Landlord.

       15.      On or about September 21, 2108, Defendant entered into a sublease

agreement with Adams Communication & Engineering Technology (ACET) for a

portion of the office space it was renting from Plaintiff for $5,300 a month ending

on September 1, 2019. This sublease included a clause that made ACET subject to

the lease between Defendant and Plaintiff as the Landlord.

       16.      On or about April 26, 2018, Defendant Black Hall entered into a

sublease agreement with Dynetics, Inc. for a portion of the office space it was renting

from Plaintiff ending on June 30, 2020. On or about March 20, 2019, a First

Amendment was entered into to increase the space and for the monthly rent to be

$49,739.89 until June 30, 2020 and then increase to $52,035.58. This sublease

included a clause that made Dynetics subject to the lease between Defendant and

Plaintiff.

       17.      Subject to the two subleases as referenced above, Defendant was to

keep paying the rent to Plaintiff as agreed in the Fourth Amendment until November

30, 2021.

       18.      On or about April 2019, Defendant failed to pay Plaintiff rent, and has

not paid any since this date.

       19.      Plaintiff has tried to resolve this matter and still has not received any
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payments from Defendant as of today’s date.

      20.    Plaintiff has learned that Defendant was paid April and May 2019 rent

by its sublessors but has not turned the funds over to Plaintiff.

      21.    Plaintiff started receiving payments directly from the sublessors in June

2019. However, this amount is less than the agreed rent with Defendant per the

Fourth Amendment to the Lease.

      22.    At the time Defendant breached its obligations, the monthly rent

amount was $62,917.03 with a late fee of 18% interest to be charged per annum.

This amount continues to accrue daily, plus costs.

      23.    Thus far, Defendant has failed to pay the rent it owes on the above-

referenced property for the months of April and June and owes the difference in rent

payment received from the sublessors for the term of the lease.

      24.    Plaintiff seeks recovery for the overdue rent, plus late fees and interest,

plus attorney fees and other costs.

                                 CAUSES OF ACTION

                           Count I – Breach of Contract

      25.    Paragraphs 1 through 24 are incorporated herein, as if set out in full.

      26.    Defendant, through conduct acknowledging mutual assent, offer, and

acceptance, made a valid and binding contract, supported by good and valuable

consideration and fully enforceable at law, when it entered into the lease with
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Plaintiff.

       27.      All conditions precedent to the Defendant’s performance of its

obligations to date under the lease have occurred or have been waived.

       28.      Defendant is obligated to make payments of sums owed under the lease

but has failed and refused to do so upon demand.

       29.      The full amount owed on the lease, at the time of the filing of this

Complaint, and inclusive of fees and costs is, to date, in excess of $147,000.

       30.      Plaintiff has incurred and will continue to incur attorneys’ fees and

costs in the prosecution of this civil action.

       WHEREFORE, Plaintiff demands judgment in its favor against Defendant in

the amount of all sums due under the lease as they shall be proved to exist as of the

date of entry of judgment, interest, pre-judgment interest, penalties, late charges and

all other amounts of any kind owed under the lease, plus reasonable attorneys’ fees

and costs incurred by Plaintiff in the prosecution of this action, plus all other costs

and fees allowed by law.

                               Count II – Breach of Lease

       31.      Paragraphs 1 through 24 are incorporated herein, as if set out in full.

       32.      Plaintiff is the owner of that certain commercial real estate known as

the Property Location.

       33.      Defendant, doing business as Black Hall Aerospace was a tenant in at
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the Property Location occupying space as defined in the Fourth Amended Lease.

      34.    Plaintiff and Defendant are subject to the lease as entered into on

November 23, 2011 by an Assumption of the Lease entered into on May 24, 2018.

A true and correct copy of the Assumption of Lease is attached hereto as “Exhibit

A.”

      35.    Defendant sublet a portion of the rented space to Adams

Communication & Engineering Technology (ACET) and the remaining space to

Dynetics, Inc.

      36.    Defendant defaulted under the Lease by failing to pay rent collected

from the sublessors and other charges when the same became due.

      37.    Plaintiff, pursuant to Landlord’s rights under the Sublease Agreements,

collects rent payments directly from the sublessors, but in an amount less that the

agreed to per the Lease entered into with Defendant.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff demands judgment

against the Defendant in the sum of all sums due under the lease as they shall be

proved to exist as of the date of entry of judgment, interest, pre-judgment interest,

penalties, late charges and all other amounts of any kind owed under the lease, plus

reasonable attorneys’ fees and costs incurred by Plaintiff in the prosecution of this

action, plus all other costs and fees allowed by law.
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                            Count III – Unjust Enrichment

      38.      Paragraphs 1 through 24 are incorporated herein, as if set out in full.

      39.      Defendant knowingly accepted and retained the rent payments from

their sublessors as described above.

      40.      Defendant was unjustly enriched, and it would be inequitable to allow

Defendant to retain these benefits.

      41.      Plaintiff requests that Defendant:

            a) perform an equitable accounting to determine Plaintiff’s fair share of

               any monies and interest owed to it;

            b) create a constructive trust, the res of which to be comprised of any and

               all amounts unjustly retained; and

            c) disgorge the res to Plaintiff via resulting restitution.

      Respectfully submitted this the 26th day of June, 2019.


                                          s/ Eric J. Artrip
                                          Eric J. Artrip (ASB-9673-I68E)
                                          MASTANDO & ARTRIP, LLC
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                                          Huntsville, Alabama 35801
                                          Telephone: (256) 532-2222
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DEFENDANT TO BE SERVED BY CERTIFIED MAIL


BLACK HALL AEROSPACE, INC.
℅ John R. Baggette, Jr.
305 Church Street, Suite 800
Huntsville, Al 35801
